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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

U.S. EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

                               Plaintiff,             Case No. 3:24-cv-00231

                       v.                             Judge Stephanie L. Haines

SHEETZ, INC., SHEETZ DISTRIBUTION                     Electronically Filed
SERVICES, LLC, and CLI TRANSPORT, LP,

                               Defendants.


          DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE AN
               AMENDED BRIEF IN SUPPORT OF DEFENDANTS’
        PARTIAL MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Defendants Sheetz, Inc., Sheetz Distribution Services, LLC and CLI Transport, LP

(collectively, “Defendants”) respectfully move for leave to file an amended brief in Support of

Defendants’ Partial Motion to Dismiss for Failure to State a Claim (Dkt Nos. 19, 35) in order to

supplement the brief with applicable authority from the Third Circuit and courts within the Third

Circuit following transfer of this case from the United States District Court for the District of

Maryland. In support, Defendants state as follows:

       1.      In the United States District Court for the District of Maryland, Defendants filed a

Partial Motion to Dismiss for Failure to State a Claim (“Defendants’ Motion to Dismiss”) and

supporting brief on June 14, 2024 (Dkt. Nos. 18-9), and filed a reply brief in support of Defendants’

Motion to Dismiss on July 12, 2024 (Dkt. No. 35).

       2.      Because Defendants’ Motion to Dismiss was filed while this action was pending in

the United States District Court of Maryland, the cited authority in the Motion and supporting

briefs was to a substantial degree from the Fourth Circuit and the District of Maryland.
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       3.      On October 4, 2024, this case was transferred from the United States District Court

for the District of Maryland within the Fourth Circuit to the United States District Court for the

Western District of Pennsylvania within the Third Circuit. (Dkt. No. 39).

       4.      Because of this transfer, Defendants seek leave to file an amended brief in support

of their Motion to Dismiss that contains applicable authority from the Third Circuit and courts

within the Third Circuit.

       5.      Defendants respectfully request that the Court allow Defendants to file an amended

brief in support of their Motion to Dismiss no later than October 16, 2024.

       6.      This Motion is sought in good faith, and neither party will be prejudiced by the

granting of this Motion.

       7.      Plaintiff does not oppose this Motion.

       8.      A proposed order granting the relief sought is attached hereto.



Dated: October 11, 2024                       Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of October 2024, the foregoing DEFENDANTS’

UNOPPOSED MOTION FOR LEAVE TO FILE AN AMENDED BRIEF IN SUPPORT OF

DEFENDANTS’ PARTIAL MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM was

filed using the USDC Western District of Pennsylvania’s ECF system, through which this

document is available for viewing and downloading, causing a notice of electronic filing to be

served upon the following counsel of record.

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                                                      /s/ Katelyn W. McCombs
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